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                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                  Case No. CR-17-328-E-BLW
                Plaintiff,
                                                  TRIAL MEMORANDUM
        vs.

 TRAVIS M. NEWBOLD,

                Defendant.


       The United States, by and through Bart M. Davis, United States Attorney for the District

of Idaho, and the undersigned Special Assistant United States Attorney for the District of Idaho,

hereby submit the following trial memorandum:

                                          STATUS OF CASE

       This case is set for jury trial on October 15, 2018, before the Honorable B. Lynn Winmill,

Chief U.S. District Court Judge, at Pocatello, Idaho. The defendant, Travis M. Newbold, is

charged in the Second Superseding Indictment with three counts:

       Count One: Conspiracy to Import a Controlled Substance under 21 U.S.C. §§ 952, 960,

and 846;

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       Count Two: Importation of a Controlled Substance under 21 U.S.C. §§ 952 and 960, and

18 U.S.C. § 2; and

       Count Three: Possession with Intent to Distribute a Controlled Substance under 21

U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2.

       The Government is represented by Special Assistant United States Attorney Bryan

Wheat. The defendant is represented by Steve Richert.

       The Government intends to call fourteen witnesses in its case-in-chief. The Government

expects that the trial will take approximately three (3) days. The exact nature of the defendant’s

case is unknown to the Government.

                                         LAW OF THE CASE

COUNT ONE

       The defendant is charged in Count One of the Indictment with Conspiracy to Import a

Controlled Substance under 21 U.S.C. §§ 952, 960, and 846. In order for the defendant to be

found guilty of this charge, the Government must prove the following elements beyond a

reasonable doubt:

       First, beginning in or about March, 2017, through in or about October 2017, there was an

agreement between two or more persons to import a controlled substance into the United States;

and

       Second, the defendant joined in the agreement knowing of its purpose and intending to

help accomplish that purpose.




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COUNT TWO

          The defendant is charged in Count Two with Importation of a Controlled Substance

under 21 U.S.C. §§ 952 and 960, and 18 U.S.C. § 2. In order for the defendant to be found guilty

of this charge, the Government must prove the following elements beyond a reasonable doubt.

          First, the defendant knowingly brought anabolic steroids into the United States from a

place outside the United States; and

          Second, the defendant knew the substance he was bringing into the United States was

anabolic steroids or some other kind of prohibited drug.

COUNT THREE

          The defendant is charged in Count Three with Possession with Intent to Distribute a

Controlled Substance under 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2. In order

for the defendant to be found guilty of this charge, the Government must prove the following

elements beyond a reasonable doubt.

          First, the defendant knowingly possessed anabolic steroids; and

          Second, the defendant possessed them with the intent to distribute them to another

person.

                                                  FACTS

          Travis Newbold accepted delivery of a package of anabolic steroids in Pocatello, Idaho,

on October 25, 2017. United States Customs and Border Patrol had intercepted the package at

the air mail center in San Francisco, California. The package was addressed to “Travis” at 551

W. Pine St. in Pocatello, Idaho, and shipped from Shenzhen, China. Investigators confirmed that

Travis Newbold lived at that address.




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       The package contained 496 grams of methandienone and 989 grams of oxymetholone.

Both are anabolic steroids, and schedule III controlled substances.

       Investigators from the Department of Homeland Security, U.S. Postal Service

Investigations, and Pocatello Police Department coordinated a controlled delivery of the package

to Newbold. They sent Newbold a delivery slip for the package. The delivery slip notified

Newbold of the package’s arrival, and required a signature at the post office. Newbold went to

the post office, signed for and accepted the package, and was arrested while leaving the post

office with the package.

       Investigators executed a search warrant on Newbold’s home that same day. They located

a large safe in one of the bedrooms. The safe contained two driver’s licenses for Newbold, and a

prescription bottle for Newbold.

       Additionally, the safe contained more anabolic steroids and paraphernalia. The anabolic

steroids were found in various forms and compositions including powders, oils and liquids.

Some were contained in vials used for injectables. The safe also contained recipes for making

anabolic steroids, approximately 1,000 empty pill capsules, approximately 150 empty small glass

vials and rubber stoppers, and other paraphernalia.

       Newbold was interviewed after being arrested. Newbold said that he had a pen pal in

China from whom he used to order steroids in the past. He claimed that she would send him

packages and ask him to forward the packages. He said that he had no idea what was in the

packages. He also admitted to ordering small amounts of liquid testosterone through the mail.

       Investigators searched Newbold’s phone. They found conversations with someone

named “Amy.” Over several months, Amy and Newbold discuss a business being developed by

Amy, called “Alliance Raws Pharmacy.” The two discussed previous orders by Newbold, the



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illegal nature of Amy’s business, and other packages. Amy asked Newbold to forward other

packages for her.

                               THE GOVERNMENT’S EVIDENCE

STIPULATIONS

       Defense counsel has stipulated that the cell phone evidence to be presented came from a

phone held in evidence. There is no stipulation regarding whether the phone belonged to

Newbold. The Government will lay that foundation at trial.

       Witnesses

       The Government intends to call the following witnesses:

       SA Andy Robertson, Homeland Security Investigations

       Detective Nick Edwards, Pocatello Police Department

       Matthew Wong, Customs and Border Patrol

       Jonathan Dumke, Drug Enforcement Administration chemist

       Brian Harris, Pocatello Police Department

       Lance Lewis, Idaho Department of Corrections

       Nathan Diekemper, Pocatello Police Department

       Scott Hellstrom, Idaho State Police Forensic Services chemist

       James Wheeler, AKA “Ox.”

       Aida Carrillo, Pocatello Police Department

       Michael Shelton, Bannock County Sheriff’s Office

       Darin SolmoN, U.S. Postal Inspection Service

       Marcel Korvela, U.S. Postal Inspection Service

       Clara Sutherland



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EVIDENCE

       The Government intends to produce the following items of evidence at the trial:

       -    Photographs of the search warrant at Newbold’s home
       -    Photographs of the package seized from Newbold
       -    Physical evidence, including drugs seized, packaging materials, documents, and
            paraphernalia from Newbold’s home
       -    Records of communications from Newbold’s phone
       -    Jail phone calls including Newbold
       -    A recorded custodial interview of Newbold by Detective Nick Edwards and Special
            Agent Andy Robertson
       -    A vial of oily liquid that Newbold admitted to be “testosterone” in August 2017
       -    The seized package, as well as delivery slips


                                           OTHER ISSUES

       The defense filed a Motion in Limine regarding a prior conviction for distribution of

steroids, and facts relating to Newbold being on probation. The parties are awaiting disposition

on the Motion.

       Respectfully submitted this 10th day of October, 2018.

                                                 BART M. DAVIS
                                                 UNITED STATES ATTORNEY
                                                 By:


                                                /s/ Bryan Wheat _________________________
                                                 BRYAN WHEAT
                                                 Special Assistant United States Attorney




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                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 10, 2018, the foregoing TRIAL

MEMORANDUM was electronically filed with the Clerk of the Court using the CM/ECF

system, and that a copy was served on the following parties or counsel by:

                                                            United States Mail, postage prepaid
         Steve Richert                                      fax
         Steve.Richert@fd.org                               xx ECF filing
                                                            email




                                                         /s/ Pamela Groves ________________
                                                         Legal Assistant




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